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1                                UNITED STATES DISTRICT COURT
2                                       DISTRICT OF NEVADA
3
     JERMAINE R. SEAGEARS; WORK OR                    )
4    DON’T EAT, LLC,                                  )
                                                      )        Case No.: 2:19-cv-01161-GMN-DJA
5
                          Plaintiffs,                 )
6           vs.                                       )                     ORDER
                                                      )
7    JACQUEZ C. LINDSEY,                              )
                                                      )
8
                          Defendant.                  )
9           On December 10, 2020, the Court issued the Order to Show Cause, (ECF No. 20), why
10   Defendant Jacquez Lindsey (“Defendant”) should not be held in civil contempt. The Order
11   asked Defendant to explain in writing by January 8, 2021, his failure to comply with this
12   Court’s Order, (ECF No. 15), which required Defendant to produce his “bank account records,
13   sale records, ledgers and receipts of sales either in-person or online of all items bearing the
14   Work or Don’t Eat name or trademark,” by March 22, 2020. (See Min. Order Show Cause, ECF
15   No. 20). The Court explained that failure to comply with the Order to Show Cause would
16   result in “the issuance of sanctions including a finding of civil contempt that results in issuance
17   of $100.00 daily fines and an award of attorney fees and costs.” (See Min. Order, ECF No. 20).
18   To date, Defendant has not complied with the Order.
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1           Accordingly,
2           IT IS HEREBY ORDERED that the Court holds Defendant in civil contempt.
3    Defendant shall be subject to $100.00 daily fines, beginning upon the date Defendant is
4    properly served with this Order, until Defendant fully complies with the Court’s prior Order.
5    Defendant shall also be liable for Plaintiffs’ attorney fees and costs, which shall be ordered
6    upon proper motion.
7           IT IS FURTHER ORDERED that Plaintiffs shall serve a copy of this Order upon
8    Defendant by January 25, 2021. Plaintiffs shall file an Affidavit of Service on the docket once
9    service has been affected.
10                     11 day of January, 2021.
            Dated this ___
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14
                                                   Gloria M. Navarro, District Judge
                                                   UNITED STATES DISTRICT COURT
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